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                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                       CASE NUMBER:

  Jenny L. Flores, et al.                                                             CV 85-4544-DMG (AGRx)
                                                        Plaintiff(s)
                                  v.
                                                                        ORDER ON REQUEST FOR APPROVAL OF
  William P. Barr, et al.                                                SUBSTITUTION OR WITHDRAWAL OF
                                                      Defendant(s).
                                                                                    ATTORNEY


       The Court hereby orders that the request of:

            Jenny L. Flores, et al.            X Plaintiff     Defendant        Other
               Name of Party

to withdraw    Monica Julian                                 who is

       X     Counsel                Counsel appointed by the Court (Criminal cases only)             Pro Se

           One Shields Avenue, TB-30
                                                              Street Address

       Davis, CA 95616                                                                        mjulian@ucdavis.edu
                          City, State, Zip                                                           E-Mail Address

       (530) 752-5440                                                                                275075
       Telephone Number                                       Fax Number                             State Bar Number


as attorney of record

is hereby      X GRANTED                       DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this
case.

       Dated July 22, 2020
                                                                        Dolly M. Gee, U. S. District Judge





G-01 ORDER (09/17)ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
